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Case 2:05-cr-20210-SH|\/| Document 3 Filed 06/07/05 Page 1 of 2 Page|D 3
UNITED sTATEs DISTRICT coURT

FOR THE . '?" .. .
WESTERN DISTRICT OF TEN'NESSEE HI'EB B( """ U'("‘

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UNITED sTATEs oF AMERICA ROBERT f»E. ~'.')l "EHOI.KJ
CR. No. 05- 2 13 95373'[

vs .OriN, NEMPHB

DARYL ROSS

~._r

APPLICATION ORDER and WRIT FOR HABEAS CORPUS A.D PROSE UENDTJM

 

The United States Attorney's Office applies to the Court for a Writ
to have DARYL ROSS, DOB: 10/93/68, RNI: 199201, now being detained in
the Shelby County Jail, appear before the Honorable Tu M. Pham on Friday,
June 10, 2005 @ 2:00 p.m. for Initial Appearance and for such other

appearances as this Court may direct.

  

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Upon consideration of the foregoing Application, DmnD Jommy, U.S.
MARSHAL, WESTERN DIsTRIcT oF TENNESSEE, MEMPHIS, TN., SHERIFF/W%RREN, SHELBY CoUNTY
JAIL, MEMPHIS, TN.
YOUR ARE HEREBY COMMANDED to have DARYL ROSS, DOB: 10/93/68, RNI:
199201, appear before the Honorable Tu M. Pham on the date and time
aforementioned.

ENTERED this ,7 day of June, 2005.

 

 

Th;SdOCU \ UNITED sTA'I"Es MAGISTRATE JUDGE

   

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CR-202]0 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

